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                                IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


SHARONDA CHEEVES                                 :          CIVIL ACTION
                                                 :
                                                 :
                        v.                       :
                                                 :
                                                 :
HYDE SC 200 GROUP, LLC                           :          NO. 19-2333



                                             ORDER

          AND NOW, this 5th day of December, 2019, it having been reported that the issues
between the parties in the above action have been settled and upon Order of the Court
pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court,
it is


ORDERED that the above action is DISMISSED with prejudice, pursuant to the agreement
of counsel without costs.

                                                     Kate Barkman
                                                     Clerk of Court



                                                     By:    /s/ Mark A. Rafferty
                                                            Deputy Clerk




Civ. 2 41.1(b) (3/18)
